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 1                               UNITED STATES DISTRICT COURT
 2                                      DISTRICT OF NEVADA
 3
     UNITED STATES OF AMERICA,                        )
 4                                                    )
 5
                          Plaintiff,                  )        Case No.: 2:16-cr-00265-GMN-NJK
            vs.                                       )
 6                                                    )                     ORDER
     BERT WAYNE DAVISSON, et al.,                     )
 7                                                    )
                          Defendants.                 )
 8
                                                      )
 9

10          Pending before the Court is the Motion for Financial Assistance with Food and Lodging
11   Expenses During Trial, (ECF No. 2133), filed by Defendant Bert Davisson (“Defendant”).
12          In his Motion, Defendant represents that he resides in Reno, Nevada and will be forced
13   to incur expenditures for lodging and food during the length of his upcoming trial in Las Vegas,
14   Nevada. (See Mot. for Financial Assistance 3:13–4:21, ECF No. 1928). Defendant further
15   submits that he “cannot afford these expenses to be present during this lengthy trial. . . . Mr.
16   Davisson cannot work his normal schedule while trial is pending, further exacerbating the
17   financial harm he will suffer.” (Id. 3:16–21). Having read and considered Defendant’s Motion
18   for Financial Assistance with Food and Lodging Expenses During Trial, the Court hereby
19   grants the Motion in part, finding that lodging expenses incurred by Defendant during trial in
20   this matter constitute “other services necessary for adequate representation[,]” under the
21   Criminal Justice Act, 18 U.S.C. § 3006A(e)(1).
22   ///
23   ///
24   ///
25



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 1         Accordingly,
 2         IT IS HEREBY ORDERED that Defendant’s Motion for Financial Assistance with
 3   Food and Lodging Expenses During Trial, (ECF No. 2133), is GRANTED in part and
 4   DENIED in part. Reasonable and necessary lodging expenses incurred by Defendant during
 5   trial in this matter will be reimbursed, under the CJA upon submission and approval of CJA
 6   vouchers containing all required documentation. The Motion is denied as to food expenditures.
 7                     28 day of February, 2020.
           DATED this _____
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10                                               Gloria M. Navarro, District Judge
                                                 United States District Court
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